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   7
                          UNITED STATES DISTRICT COURT
   8
                        CENTRAL DISTRICT OF CALIFORNIA
   9

  10
     KEVIN FORESTAL,                                 Case No. CV 16-4492-MWF (GJSx)
  11
              Plaintiff,
  12     v.
                                                     JUDGMENT
  13 BARRY G. CALDWELL, et al.,

  14              Defendants.
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  18        This action was dismissed after Plaintiff Kevin Forestal filed a Notice of

  19 Intent Not to File Amended Complaint. (Docket No. 58). The Court had granted

  20 Defendants’ Motion to Dismiss (Docket No. 50) and denied Plaintiff’s Motion for

  21 Reconsideration (Docket No. 57).

  22        Plaintiff Kevin Forestal was represented by Robert B. Weiser, Brett D.

  23 Stecker, James M. Ficaro, and Kathleen A. Herkenhoff, of the Weiser Law Firm,

  24 P.C.; and Daniel L. Germain of Rosman & Germain LLP. Defendants Barry G.

  25 Caldwell, John S. Santos, Caren Mason, Mark B. Logan, Stephen C. Farrell,

  26 Richard A. Meier, John C. Moore, J. Steven Roush, Louis E. Silverman, William

  27 P. Wall, and Nominal Defendant STAAR Surgical Company, were represented by

  28 Dan E. Marmalefsky and Kai S. Bartolomeo, of Morrison and Foerster LLP.

                                               -1-
                                            JUDGMENT
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   1        Now, therefore, pursuant to Rules 54 and 58 of the Federal Rules of Civil
   2 Procedure, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

   3 final judgment in this action be entered in favor all Defendants, and that Plaintiff

   4 Kevin Forestal shall take nothing by way of his Complaint.

   5        Defendants are awarded their costs as provided by law.
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   8        Dated: January 31, 2017.                  _______________________________
                                                       MICHAEL W. FITZGERALD
   9                                                   United States District Judge
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                                            JUDGMENT
